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 1                                                              THE HONORABLE JOHN H. CHUN

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 6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8
      FEDERAL TRADE COMMISSION, et al.,                       CASE NO.: 2:23-cv-01495-JHC
 9
                       Plaintiffs,                            DECLARATION OF SHIRA A.
10                                                            STEINBERG IN SUPPORT OF
                  v.                                          JOINT BRIEF REGARDING
11                                                            INTERIM DEADLINES
      AMAZON.COM, INC., a corporation,
12                     Defendant.
13

14 I, Shira A. Steinberg, declare as follows:

15          1.      I am an Attorney in the Federal Trade Commission’s (“FTC”) Bureau of

16 Competition, and I represent the FTC in the above-captioned action. I am over eighteen years of

17 age and am competent to testify to the matters set forth in this declaration. I make the following

18 statements based on my personal knowledge.

19          2.      I certify that Plaintiffs conferred in good faith with counsel for Amazon in an

20 effort to resolve the parties’ dispute without Court action. Counsel for Plaintiffs and counsel for

21 Amazon have met and conferred at length regarding their respective proposals for interim

22 discovery deadlines by email and through telephonic meet and confers on September 10 and 13,

23 2025.

24
      DECL. OF SHIRA A. STEINBERG                                     FEDERAL TRADE COMMISSION
      ISO PLAINTIFFS’ STATEMENT                                           600 Pennsylvania Avenue, NW
      REGARDING INTERIM DEADLINES - 1                                            Washington, DC 20580
      CASE NO. 2:23-cv-01495-JHC                                                        (202) 326-2222
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 1          3.      During a telephonic meet and confer between the parties on September 10, 2024,

 2 counsel for Amazon, Katie Trefz, stated Amazon’s position was Plaintiffs should begin taking

 3 depositions before March 31, 2025. Counsel for Plaintiffs raised concerns with that approach

 4 based on prior experiences where depositions began before document production was completed,

 5 and the parties debated the need to reopen the depositions. Ms. Trefz told Plaintiffs that a

 6 discussion about reopening depositions would depend on the circumstances.

 7          4.      Attached as Exhibit A is a true and correct copy of a letter from Shira A.

 8 Steinberg, counsel for the FTC, to Robert D. Keeling, counsel for Amazon, dated July 16, 2024.

 9 Plaintiffs have redacted certain portions of Exhibit A that are not cited in the Joint Brief at

10 Amazon’s request, pursuant to LCR 5(g)(1).

11          5.      Attached as Exhibit B is a true and correct copy of a letter from Shira A.

12 Steinberg, counsel for the FTC, to Robert D. Keeling, counsel for Amazon, dated August 16,

13 2024. Plaintiffs have redacted certain portions of Exhibit B that are not cited in the Joint Brief at

14 Amazon’s request, pursuant to LCR 5(g)(1).

15          6.      Attached as Exhibit C is a true and correct copy of a letter from Robert D.

16 Keeling, counsel for Amazon, to Shira A. Steinberg, counsel for the FTC, dated August 30,

17 2024. Plaintiffs have redacted certain portions of Exhibit C that are not cited in the Joint Brief at

18 Amazon’s request, pursuant to LCR 5(g)(1).

19          7.              I declare under penalty of perjury that the foregoing is true and correct.

20          Executed on September 17, 2024, in Washington, DC.

21                                                             s/ Shira A. Steinberg
                                                               Shira A. Steinberg
22                                                             Attorney
                                                               Bureau of Competition
23                                                             Federal Trade Commission

24
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